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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   Case No. 23 C 818
 IN RE: HAIR RELAXER MARKETING
 SALES PRACTICES AND PRODUCTS                      MDL No. 3060
 LIABILITY LITIGATION
                                                   Judge Mary M. Rowland

                             CASE MANAGEMENT ORDER NO. 2
                              Direct Filing and Service of Process


  I.          Direct Filing of Cases in MDL 3060

         A.      Direct Filing. To eliminate delays associated with transfer of cases filed in or

removed from other federal district courts to this Court, and to promote judicial efficiency, any

plaintiff whose case would be subject to transfer to MDL No. 3060 may file his or her case directly

in MDL No. 3060 in the United States District Court for the Northern District of Illinois in

accordance with the procedures set forth herein

         B.      Filing Fees. All plaintiffs directly filing in the MDL are required to pay the

standard New Action Filing Fee to initiate the case.

         C.      Designation in Complaint. For cases directly filed in the MDL pursuant to this

Order, the complaint must utilize the caption set forth in Section (I) below and include (1) a

statement indicating that it is being filed in accordance with Case Management Order No. 2 and

(2) a designation of venue (“Original Venue”), which will be the presumptive place of remand

absent a showing by plaintiffs or defendant(s) that the place of remand should be elsewhere based

upon some good cause pursuant to Section (F) below.

         D.      Pretrial Proceedings Only; No Lexecon Waiver. Each case filed directly in MDL

No. 3060 will be filed in MDL No. 3060 for pretrial proceedings only, consistent with the Judicial
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Panel on Multidistrict Litigation’s February 6, 2023 Transfer Order. Plaintiffs and Defendants’

agreement to this Order does not constitute a waiver under Lexecon, Inc. v. Milberg Weiss Bershad

Hynes & Lerach, 523 U.S. 26 (1998) by any party of that party’s right to challenge jurisdiction,

choice of law, statutes of limitation, forum non conveniens, the location of any trials to be held, or

any other legal rights and remedies. However, nothing in this Order shall preclude the parties from

agreeing to such waivers in the future.

        E.      No Concession as to Jurisdiction or Proper Venue. The inclusion of any action

in MDL No. 3060 pursuant to this Order shall not constitute a determination by this Court that

jurisdiction or venue is proper in this District.

        F.      Transfer for Trial to Federal District Court of Proper Venue. Upon completion

of all pretrial proceedings applicable to a case filed directly before this Court in MDL 3060

pursuant to this Order, this Court, pursuant to 28 U.S.C. § 1404(a), will transfer that case to the

identified Original Venue, absent an objection by one or more Defendants. Objections or a change

regarding a plaintiff’s designated Original Venue (as defined in Section (C)) may be raised by

motion, or other means permitted by the Court, no later than the conclusion of bellwether discovery

or such other time as permitted by the Court or by agreement of the parties. The parties may agree

to a place of remand different than the Original Venue designated in the complaint. Nothing

contained in this Order shall preclude the parties from agreeing, at a future date, to try cases filed

pursuant to this Order in the Northern District of Illinois.

        G.      Choice of Law. Filing a case directly in MDL No. 3060 pursuant to this Order will

not determine the choice of law, including the choice of law for any of the claims in the action and

for statute of limitations purposes. The parties’ agreement to this Order shall not constitute a

waiver of or agreement to the application of any choice of law principles or substantive choice of
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law to a particular Plaintiff’s action. The fact that an action was filed in the MDL as a member

case pursuant to this Order will have no impact on choice of law. Choice of law issues are reserved

and shall be briefed, as appropriate, at a later date.

         H.     No Waiver as to Service or Personal Jurisdiction. The direct filing of a case in

the MDL shall not constitute an appearance by or for any Defendant not properly served, nor a

waiver of personal jurisdiction or service by any named Defendant.

         I.     Caption. The caption for any complaint that is directly filed in MDL No. 3060

before this Court shall bear the following caption:



                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 IN RE: HAIR RELAXER MARKETING                       MDL No. 3060
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION                                Master Docket Case No. 1:23-cv-00818

                                                     Honorable Mary M. Rowland


 JANE DOE,                                           COMPLAINT AND JURY DEMAND

                 Plaintiff,                          Civil Action No.: _________________

 vs.

 XYZ CORPORATION and ABC
 COMPANY,

                 Defendants.



         J.     Filing Under this Order. When utilizing and invoking this Order to file a case

directly in this MDL, plaintiff shall assert the following lead paragraph in their complaint:
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                Plaintiff(s) file this Complaint pursuant to CMO No. 2, and are to be bound by the

                rights, protections and privileges, and obligations of that CMO and other Orders of

                the Court. Further, in accordance with CMO No. 2, Plaintiff(s) hereby designate

                the United States District Court for the _______________ as plaintiff’s designated

                venue (“Original Venue”). Plaintiff makes this selection based upon one (or

                more) of the following factors (check the appropriate box(es))

                                __ Plaintiff currently resides in __________________(City/State);

                                __ Plaintiff purchased and used Defendant(s)’ products in
                                _______________ (City/State);

                                __The Original Venue is a judicial district in which Defendant
                                __________ resides, and all defendants are residents of the State in
                                which the district is located (28 USC 1391(b)(1)).

                                __ The Original Venue is a judicial district in which a substantial
                                part of the events or omissions giving rise to the claim occurred,
                                specifically (28 USC 1391(b)(2)):___________________________
                                ____________________________________________________.

                                __ There is no district in which an action may otherwise be brought
                                under 28 USC 1391, and the Original Venue is a judicial district in
                                which Defendant ______________ is subject to the Court’s personal
                                jurisdiction with respect to this action (28 USC 1391(b)(3)).

                                ___ Other reason (please explain): ___________________
                                _____________________________________________________.

        K.      Attorney Admission. In accordance with the Minute Order dated March 2, 2023,

any attorney admitted to practice and in good standing in any United States District Court is

admitted pro hac vice in this litigation and association of co-counsel for purposes of filing and or

litigation, including direct filing, is not required.

        L.      Electronic Filing. Prior to any plaintiff’s attorney filing a complaint in the United

States District Court for the Northern District of Illinois or directly in the MDL Proceedings
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pursuant to this Order, that attorney must register for and/or have a Northern District of Illinois

CM/ECF log in name and password.

       M.      Response to Complaint. Defendants need not move, plead, or otherwise respond

to any Complaint directly filed in this District as a member case of the MDL unless and until so

ordered by the Court or by agreement of the parties as they begin to negotiate the format of master

or other streamlined pleadings that can preserve the parties and Court’s resources.




                                                   E N T E R:


 Dated: March 30, 2023

                                                   MARY M. ROWLAND
                                                   United States District Judge
